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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                 )   Criminal No. 16-334(1) (JNE/KMM)
                                          )
                          Plaintiff,      )   DEFENDANT’S MOTION FOR
          v.                              )   EXTENSION OF TIME TO FILE
                                          )   PLEADINGS WITH RESPECT TO
PAUL R. HANSMEIER,                        )   SENTENCING PROCEDURES
                                          )
                        Defendant.        )


       The defendant, Paul R. Hansmeier, by and through his attorney, respectfully moves

the Court for an order extending the time limits under the Local Rules in which pleadings

with respect to sentencing procedures are due. The parties’ pleadings are due March 11,

2019. A two-week extension is needed because of counsel’s current caseload and because

Mr. Hansmeier’s extensive pleading requires additional time to complete. Counsel will also

be out of the office for two business. For the given reasons, counsel requests a two-week

extension to file defendant’s pleading.

Dated: March 6, 2019                          Respectfully submitted,

                                              s/ Manny K. Atwal

                                              MANNY K. ATWAL
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                                              107 U.S. Courthouse
                                              300 South Fourth Street
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